                                                 State of Wisconsin
                                                  Department of Corrections
                                   INMATE COMPLAINT HISTORY REPORT
                                                      by Date Received
                                            Inmate: 365048 - NATCONE, JASON A.

                   ** Heavily shaded complaints indicate that the rejected complaint was appealed to the Warden
                      ** Lightly shaded complaints indicate that the complaint was appealed to the CCE Office

   Received Date         Complaint Number         Subject              Brief Summary
     05/09/2014          CVTF-2014-9092          2 - Correspondence Complains his newspapers were not packed at NLCI.
                                                 & Publications
     10/23/2014          CVTF-2014-20925         16 - Discrimination Complains about remarks made by Sergeant Galuska
                                                                     related to his religious preference
     12/21/2016          DCI-2016-28580          13 - Food           Inmate complains he is not receiving his HS snack bag.
     01/11/2017          DCI-2017-1279           4 - Medical           Inmate complains for medical reasons he shouldn't have
                                                                       been moved from Unit 11
     02/20/2017          OCI-2017-5122           17 - Inmate           states the Business Office took out $900 for supervision
                                                 Accounts              fees and should be refunded
     10/25/2017          OCI-2017-27295          24 - Staff            Issues with Sergeant Cain on 10/23/17 when getting his
                                                 Misconduct            Boost.
     11/24/2017          OCI-2017-29864          11 - Visiting         Alia Noah should not be suspended from visiting
     11/24/2017          OCI-2017-29865          11 - Visiting         Suspending Ms. Noah from visiting, "Is directly inhibiting
                                                                       my rehabilitation & reintegration into the community".
     12/08/2017          OCI-2017-31105          15 - ICRS             Unhappy with investigation, leading to a dismissal, done
                                                                       by ICE Wichmann in OCI-2017-29864
     01/19/2018          OCI-2018-1775           1 - Staff             Complains that Sergeant Seiler has been harassing him
                                                                       for eight months straight.
     01/19/2018          OCI-2018-1776           1 - Staff             Complains that Sergeant Seiler lied in a conduct report
                                                                       that he wrote.
     01/29/2018          OCI-2018-2589           3 - Discipline        Challenging decision and disposition of CR #2959440.
     01/31/2018          OCI-2018-2848           3 - Discipline        Security director refused to let him call Ms. Flynn as a
                                                                       witness for his CR hearing.
     02/19/2018          OCI-2018-4310           24 - Staff            Complains of ongoing harassment by Officer Price in the
                                                 Misconduct            visiting room on 2/10/18.
     02/21/2018          OCI-2018-4524           24 - Staff            Complains that "Sgt. Kursten harrassed/belittled me"
                                                 Misconduct
     02/21/2018          OCI-2018-4726           7 - Personal          Jessica Schwab's (visitor) DL is now missing, after it had
                                                 Property              been located.
     03/12/2018          OCI-2018-6022           24 - Staff            Anti-Sematic remark made by Sergeant Kioski.
                                                 Misconduct
     03/12/2018          OCI-2018-6024           24 - Staff            Sergeant Kioski threatened double sanction and used
                                                 Misconduct            profane language.
     05/21/2018          OCI-2018-11298          3 - Discipline        Complains of numerous lies written by Sgt. Seiler in his
                                                                       conduct report, #3024260.
     03/24/2022          DCI-2022-4951           9 - Religion          Inmate complains his religion is wrong in the computer.
     07/07/2022          WCI-2022-10236          17 - Inmate           Missing canteen item
                                                 Accounts
     04/17/2023          WCI-2023-5469           7 - Personal          claims staff took his box of pens
                                                 Property
     06/09/2023          WCI-2023-8465           22 - Dental           complains he is not being seen for his cleaning
     06/21/2023          WCI-2023-9222           9 - Religion          complains he cannot attend a church service
     08/01/2023          WCI-2023-11432          6 - Personal        complains regarding the water at WCI
                                                 Physical Conditions
     08/21/2023          WCI-2023-12452          22 - Dental         complains he is not receiving his dental cleaning
     08/28/2023          WCI-2023-12847          8 - Rules             complains regarding not receiving 4 hours of recreation a
                                                                       week
Print Date: January 02, 2024                                 Page 1 of 2
                                                      ** ICRS CONFIDENTIAL **


                                                                         EXHIBIT
                   Case 2:23-cv-01430-WED Filed 03/25/24 Page 1 of 2 Document     1011 - 1
                                                                              32-12
                                                 State of Wisconsin
                                                  Department of Corrections
                                   INMATE COMPLAINT HISTORY REPORT
                                                      by Date Received
                                            Inmate: 365048 - NATCONE, JASON A.

                   ** Heavily shaded complaints indicate that the rejected complaint was appealed to the Warden
                      ** Lightly shaded complaints indicate that the complaint was appealed to the CCE Office

   Received Date         Complaint Number         Subject              Brief Summary
     09/21/2023          WCI-2023-14220          2 - Correspondence claims his email to his attorney was read by staff
                                                 & Publications
     09/26/2023          WCI-2023-14563          12 - Other         complains WCI is only received one shower the week of
                                                                    9/17
     10/06/2023          WCI-2023-15199          8 - Rules          complains regarding DAI P&P 309.04.01
     11/15/2023          WCI-2023-17209          4 - Medical           complains he was charged a copay
     12/22/2023          FLCI-2023-19085         7 - Personal          PIOC complains about missing property from WCI.
                                                 Property
                                                      *** End of Report ***




Print Date: January 02, 2024                                 Page 2 of 2
                                                      ** ICRS CONFIDENTIAL **


                                                                         EXHIBIT
                   Case 2:23-cv-01430-WED Filed 03/25/24 Page 2 of 2 Document     1011 - 2
                                                                              32-12
